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 4
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 6
 7                                  UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   United States of America,                     No. 2:12-CR-169-MCE-11
11                     Plaintiff,
12           v.                                    STIPULATION REGARDING
                                                   EXCLUDABLE TIME PERIODS UNDER
13   Beshiba Cook,                                 SPEEDY TRIAL ACT; ORDER
14                     Defendant.
15
16                                          STIPULATION

17   1.      By previous order, this matter was set for status on March 24, 2016.

18   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

19           counsel, now moves to continue the status conference until July 28, 2016, at 9:00

20           a.m., and to exclude time between March 24, 2016 and July 28, 2016, under

21           Local Code T4.

22   3.      The parties agree and stipulate, and request that the Court find the following:

23           a)    The government has represented that the discovery associated with this

24                 case includes approximately 2590 pages of investigative reports and

25                 related documents and recordings of thousands of wiretap calls. All of this

26                 discovery has been produced directly to counsel.

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 1            b)    Counsel for defendant desires additional time to consult with his client,
 2                  conduct investigation and research, review discovery, and to discuss
 3                  potential resolution with his client.
 4            c)    Counsel for defendant believes that failure to grant the above-requested
 5                  continuance would deny counsel the reasonable time necessary for
 6                  effective preparation, taking into account the exercise of due diligence.
 7            d)    The United States does not object to the continuance.
 8            e)    Based on the above-stated findings, the ends of justice served by
 9                  continuing the case as requested outweigh the interest of the public and
10                  the defendant in a trial within the original date prescribed by the Speedy
11                  Trial Act.
12            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
13                  3161, et seq., within which trial must commence, the time period of March
14                  24, 2016 and July 28, 2016, inclusive, is deemed excludable pursuant to
15                  18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
16                  continuance granted by the Court at defendant’s request on the basis of
17                  the Court’s finding that the ends of justice served by taking such action
18                  outweigh the best interest of the public and the defendant in a speedy trial.
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 1   4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 2           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3           period within which a trial must commence.
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: January 5, 2016                            /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
 8                                                     Counsel for Defendant
                                                       Beshiba Cook
 9
10   Dated: January 5, 2016                            BENJAMIN B. WAGNER
                                                       United States Attorney
11
12                                                     /s/ Jason Hitt (approved via email)
                                                       Jason Hitt
13                                                     Assistant United States Attorney
14
15                                              ORDER
16           IT IS SO ORDERED.
17   Dated: March 29, 2016
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